Case 1:18-cr-00167-PLM ECF No. 1312-3, PagelD.14982 Filed 10/05/20 Page 1 of 3

ErinvloX\ SS,

\rAw Ae Zed eed Aca - ReoRLOON Kener
, Case, 1:18-cr-00167-PLM ECF No. 1312-3, PagelD.14983 Filed 10/05/20 Page 2 of 3

 

 

Plan is for inmate: LIPTROT,

Individualized Needs Plan - Program Review

Dept. of Justice / Federal Bureau of Prisons
SHAMEKIA 221691-040

SEQUENCE: 02202666
Team Date: 09-10-2020

(Inmate Copy)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Facility: ALD ALDERSON FPC Proj. Rel. Date: 04-18-2022
Name: LIPTROT, SHAMEKIA Proj. Rel. Mthd: GCT REL
RegisterNo.. 22181-040 DNA Status: ALD08944 / 03-04-2020
Age: 35
Date of Birth: 08-26-1985

Detainers.. °°

[Detaining Agency Remarks |

NO DETAINER

Current Work Assignments:

|Facl Assignment Description Start

ALD DINING AM FOOD SERVICE DINING AM 03-13-2020

Current Education.Information .

\Facl - Assignment Description Start

ALD ESL HAS ENGLISH PROFICIENT 03-31-2020

ALD GED HAS COMPLETED GED OR HS DIPLOMA 03-31-2020

Education Courses : _ aaa

|SubFacl Action Description Start Stop

ALO INDEPENDENT STUDY CLASSES 04-29-2020 CURRENT

ALD c AFRICAN AMERICAN HISTORY ACE 08-03-2020 08-17-2020

ALD c IN-CELL VOCABULARY ACE CLASS 07-24-2020 07-28-2020

ALD c RPP4RENTRY INT. REENTRY RES. 03-10-2020 03-10-2020

ALD c RPPSTYPREL TYPES OF RELEASE 03-10-2020 03-10-2020

Discipline History (Last 6 months) .

[Hearing Date Prohibited Acts

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Current.Care Assignments :

[Assignment Description Start

CARE1 HEALTHY OR SIMPLE CHRONIC CARE 03-06-2020

CARE1-MH CARE1-MENTAL HEALTH 03-06-2020

Current Medical Duty Status Assigninents

[Assignment Description Start

REG DUTY NO MEDICAL RESTR-REGULAR DUTY 03-06-2020

YES FIS CLEARED FOR FOOD SERVICE 03-06-2020

Current Drug Assignments

[Assignment Description Start

DAP DECL RESIDENT DRUG TRMT DECLINED 07-30-2020

ED NONE DRUG EDUCATION NONE 03-17-2020

INELIGIBLE 18 USC 3621 RELEASE INELIGIBLE 07-30-2020

FRP Details. . oo

[Most Recent Payment Plan

FRP Assignment: PART FINANGC RESP-PARTICIPATES _ Start: 03-10-2020

Inmate Decision: AGREED $25.00 Frequency: QUARTERLY

Payments past 6 months: $50.00 Obligation Balance: $50.00

Firianclal Obligations: 20 . mol .

|No. Type Amount Balance Payable Status

1 ASSMT $100.00 $50.00 IMMEDIATE AGREED

|Adjustments: Date Added Fac! Adjust Type Reason Amount |

09-05-2020 ALD PAYMENT INSIDE PMT $25.00
06-10-2020 ALD PAYMENT INSIDE PMT $25.00

Payment Details - oe, . a oe

Sentry Data as of 09-07-2020 individualized Needs Plan - Program Review (Inmate Copy) Page 1 of 3
ad

_ Case 1:18-cr-00167-PLM ECF No. 1312-3, PagelD.14984 Filed 10/05/20 Page 3 of 3 .

 

individualized Needs Plan - Program Review (Inmate Copy) | SEQUENCE: 02202666

 

 

 

 

Dept. of Justice / Federal Bureau of Prisons Team Date: 09-10-2020
S Plan is for inmate: LIPTROT, SHAMEKIA 22181-040 .
|Most Recent Payment Plan |
Trust Fund Deposits - Past 6 months: $1,666.00 Payments commensurate? Y
New Payment Plan: | ** No data ** |

 

Progress since last review

Ms. Liptrot is currently enrolled in Independent Studies Classes. She has completed In-Cell Vocabulary, African American History Classes, and Reentry
Classes. She Is on the waiting list to complete Resolve Workshop, Money Matters, Health Issues, Careers Incorporated, and Pre-Release Syndrome.
She has maintained clear conduct since her initia! arrival at this Institution. She is FRP participate status. She has a work assignment of Food Service
Dining AM. She has a pre-release balance of $0. 00. She has obtained her drivers license.

Next!Program Review. Goals _

Ms. Liptrot is encouraged to complete the following taske/programs prior to the next date of 3-8-2021. Obtain your birth certificate and social security
card. Save $5.00 -$10. 00 for release purposes. Maintain clear conduct. Enroll in Resume Writing

Long Term Goals - ne

Complete one RPP class from ‘each of the following six elements p prior to release (4-18-2022): Health/Nutrition, Employment, Personal Finance,
Community Resources, Release Requirements and Procedures and Personal Growth/Development

RRC/HC Placement: :

 

 

 

 

 

 

 

 

Comments

-Sentenced in the Western District of Michigan. Pians to return to sentencing district.
-No known detainers or pending charges at this time.
-Wiil be reviewed for Residential Reentry Center or Home Detention placement pursuant to the Second Chance Act at this initial classification.

 

ls there documentation in the PSR of any of the following?

__ Any history of Bankruptcy

__ No bank account

__ No assets nor fiabilities noted in PSR

_X_ Debts noted in Credit Report or other sources

_ Tax Liabilities/back taxes

— Unpaid alimony/child support

__ other indications of lack of financial! management skills (specify)

 

 

 

Sentry Data as of 09-07-2020 Individualized Needs Plan - Program Review (Inmate Copy) Page 2 of 3

 
